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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

IN RE:

SENIOR CARE LIVING VII, LLC,                                  CASE NO. 8:22-bk-00103-CED
                                                              Chapter 11
         Debtor.
                                                      /

         DEBTOR’S MOTION FOR AUTHORITY TO USE CASH COLLATERAL

                            STATEMENT OF RELIEF REQUESTED

 The Debtor seeks authority to use Cash Collateral (as defined below) to fund its operating
 expenses and the costs of administering the Chapter 11 case in accordance with its proposed
 budget attached hereto. The proposed use of cash collateral is consistent with the status quo at
 the Debtor’s ALF. The Bond Trustee asserts security interests in Cash Collateral. As adequate
 protection, the Debtor proposes to grant to the Bond Trustee replacement liens to the same
 extent, validity, and priority as the security interests held by the parties as of the Petition Date
 and other protections as set forth herein.


         Debtor, SENIOR CARE LIVING VII, LLC (“Debtor”), by its undersigned counsel, hereby

files this Motion for Authority to Use Cash Collateral (Interim Relief Requested to be Followed

by a Later Final Evidentiary Hearing if Necessary), and in support thereof respectfully states as

follows:

                                            Background

         1.     On January 10, 2022 (the “Petition Date”), the Debtor filed a Voluntary Petition for

Relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

         2.     The Debtor owns an assisted living facility in Lewisville, Texas, that is operated by

its management company, Validus Senior Living (“Validus”).

         3.     Pursuant to Sections 1107 and 1108 of the Bankruptcy Code, the Debtor is

operating as a Debtor-in-Possession and managing its ALF through Validus. This Court has
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jurisdiction to consider this matter pursuant to 28 U.S.C., Sections 1334 and 157. This is a core

matter.

          4.     An Official Committee of Unsecured Creditors has not been appointed as of the

filing of this Motion.

                                          Basis for Motion

          5.     The Debtor is indebted to UMB Bank, N.A. (the “Bond Trustee”) in its capacity as

bond trustee in the amount of approximately $45,385,000.00 in connection with notes, a mortgage

and security agreement against the Debtor’s real property located at 1080 W. Round Grove Rd.,

Lewisville, Texas (Series A notes totaling $40,395,000 and a Series B note for $4,999,000). The

mortgage secures indebtedness as evidenced by obligations issued under the Trust Indenture and

Security Agreement dated as of November 1, 2016. It appears that the Bond Trustee has a lien on

all of the Debtor’s personal property including future receivables by virtue of a UCC-1 financing

statement recorded on November 28, 2016, in the Florida Secured Transactions Registry. The

Debtor will seek to restructure this obligation as allowed by the Bankruptcy Code or as agreed to

between the parties.

          6.     The Debtor is indebted to the county tax collector in Texas (“Tax Collector”) in the

amount of approximately $1,517,759.00 in connection with past due real estate taxes. It does not

appear that the Tax Collector has a lien on cash collateral. The Debtor will seek to restructure this

obligation as allowed by the Bankruptcy Code or as agreed to between the parties.

          7.     The Bond Trustee shall be referred to as the “Secured Creditor” hereinafter.

          8.     Assuming a non-distressed environment, the Debtor estimates that the current value

of its ALF and related personal property is approximately $38 million (subject to appraisal), with

approximately $1,028,116.14 in cash as of January 11, 2022. There may be a debt service reserve



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fund (previously with approximately $2.5 million), but the Debtor is currently unaware of the

balance, if any, in this account.

           9.        The Debtor seeks the Court’s authority to utilize its cash collateral in the regular

course of business and in order to pay its expenses so that it may continue to operate as a going

concern. The requested authority is consistent with how the Debtor has operated (through Validus’

management of the ALF) both before and after the appointment of the Receiver.

           10.       The Debtor is unable to operate the ALF without the ability to use the cash receipts

from operations of the ALF, which constitute cash collateral. The Debtor anticipates that future

receivables will result in additional revenue that is also subject to the Secured Creditor’s liens. For

purposes of this Motion, the interest to be protected consists of the cash collateral component of

the Secured Creditor’s claims as well as the cash which results from the post-petition operation of

the ALF.

           11.       The Debtor’s asset is currently under a receivership ordered by the state court in

Texas on October 11, 2021. The Receiver, J. Robert Medlin (the “Receiver”), is a custodian of

the Debtor’s assets as such term is used in Section 543 of the Bankruptcy Code. The Receiver is

not actively involved in the management of the Debtor’s ALF and is not on the Debtor’s bank

accounts. The bank accounts remain in the name of the Debtor with expenses paid by authorized

signatories at Validus. It appears that the purpose of the Receiver was to sell the property in lieu

of a foreclosure sale.

                                                 Cash Collateral

           12.       The Debtor’s continued operations will produce required revenue for the Debtor

and is one of the funding mechanisms for the Debtor’s reorganization efforts1 and for the Debtor



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    Debtor anticipates timely filing its Plan.

                                                       3
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to pay debt service payments and other monthly obligations. Future revenues constitute “cash

collateral.” The Debtor currently generates approximately $660,000.00 in gross revenue per

month with net income of approximately $120,000.00 per month.


                                        Adequate Protection

       13.     As adequate protection, the Debtor will provide the Secured Creditor with the

following:

               a. a post-petition replacement lien equal in validity and dignity as it existed pre-
                  petition;

               b. proof of insurance;

               c. monthly escrow for real estate taxes; and

               d. continued management and payment of expenses through Validus with regular
                  reporting of operations.

       14.     The terms of the requested relief provide adequate protection to the Secured

Creditor and the Debtor believes that same is reasonable.

       15.     Attached hereto as Exhibit “A” is the Debtor’s budget setting forth its income and

expenses during the interim period.

       16.     Debtor is seeking interim relief and use of cash collateral to maintain the going

concern value of the ALF.

       17.     The Bond Trustee has indicated that it will not consent to the use of cash collateral,

but the Debtor hopes to obtain consent before the hearing.

       18.     The Debtor requests a prompt hearing on this Motion.

       WHEREFORE, the Debtor respectfully requests that this Court enter an Order pursuant

to the provisions of §363 of the Bankruptcy Code authorizing its continued use of cash collateral

and for such other and further relief as this Court deems appropriate.

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been

furnished either by the Court’s CM/ECF system or by regular U. S. Mail to the U.S. States Trustee,

501 East Polk Street, Suite 1200, Tampa, Florida 33602; by electronic mail to Daniel Bleck, Esq.,

counsel to the Bond Trustee, at DSBleck@mintz.com and J. Robert Medlin, the Receiver, at

bob.medlin@fticonsulting.com ; and to all creditors and parties in interest listed on the attached

matrix on January 11, 2022.


                                             JOHNSON, POPE, BOKOR,
                                             RUPPEL & BURNS, LLP

                                             /s/ Michael C. Markham
                                             Michael C. Markham (FBN: 768560)
                                             401 E. Jackson Street, Ste. 3100
                                             Tampa, FL 33601-1100
                                             Telephone: 813-225-2500
                                             Facsimile:     813-223-7118
                                             Email: mikem@jpfirm.com
                                             Attorneys for Debtor




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                                                                                                                 Inspired Living at Lewisville (ill)

                                                                                                                           Budget
                                                                                                                  Period = Jan 2022-Dec 2022
                                                                                                            Book = Accrual ; Tree = 2022_is_detailed
                                                Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022          Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total
M EM OR Y CAR E - B ASE R ATE R EVEN UE
Inspired Forever Program MC                       120,288.88     120,288.88     120,288.88     120,288.88          120,288.88            120,288.88       120,288.88     120,288.88     120,288.88     120,288.88     120,288.88     120,288.88    1,443,466.56
Inspired Standard Program MC                      104,288.63     104,288.63     104,288.63     104,288.63          104,288.63            104,288.63       104,288.63     104,288.63     104,288.63     104,288.63     104,288.63     104,288.63    1,251,463.56
MEMORY CARE - BASE RATE REVENUE                  224,577.51     224,577.51     224,577.51     224,577.51          224,577.51            224,577.51      224,577.51      224,577.51     224,577.51     224,577.51     224,577.51     224,577.51    2,694,930.12


  M EM OR Y CAR E - CAR E R EVEN UE
MC Forever                                          1,611.20       1,611.20       1,611.20       1,611.20             1,611.20              1,611.20        1,611.20       1,611.20       1,611.20       1,611.20       1,611.20       1,611.20      19,334.40
Complex Medication Administration                    148.80         148.80         148.80         148.80                148.80                148.80         148.80         148.80         148.80         148.80         148.80         148.80         1,785.60
MC Legacy Forever Care Revenue                       788.29         788.29         788.29         788.29                788.29                788.29         788.29         788.29         788.29         788.29         788.29         788.29         9,459.48
MEMORY CARE - CARE REVENUE                         2,548.29       2,548.29       2,548.29       2,548.29             2,548.29              2,548.29        2,548.29       2,548.29       2,548.29       2,548.29       2,548.29       2,548.29      30,579.48


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Inspired Standard Program AL                      171,460.80     174,636.00     177,811.20     179,928.00          183,103.20            186,278.40       188,395.20     191,570.40     194,745.60     196,862.40     200,037.60     203,212.80    2,248,041.60
Inspired Forever Program AL                       220,060.80     224,136.00     228,211.20     230,928.00          235,003.20            239,078.40       241,795.20     245,870.40     249,945.60     252,662.40     256,737.60     260,812.80    2,885,241.60
ASSISTED LIVING - BASE RATE REVENUE              391,521.60     398,772.00     406,022.40     410,856.00          418,106.40            425,356.80      430,190.40      437,440.80     444,691.20     449,524.80     456,775.20     464,025.60    5,133,283.20


  ASSI STED LI VI N G -CAR E R EVEN UE
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Level 1 AL Legacy Standard                             73.71          75.07          76.44          77.35                 78.71                 80.08          80.99          82.35          83.72          84.63          85.99          87.36         966.40
Level 2 AL Legacy Standard                           213.23         217.17         221.12         223.76                227.70                231.65         234.28         238.23         242.18         244.81         248.76         252.71         2,795.60
Level 1 AL Standard Bronze                          1,003.54       1,022.12       1,040.71       1,053.10             1,071.68              1,090.27        1,102.66       1,121.24       1,139.82       1,152.21       1,170.80       1,189.38      13,157.53
Level 2 AL Standard Silver                          1,006.86       1,025.51       1,044.15       1,056.58             1,075.23              1,093.88        1,106.31       1,124.95       1,143.60       1,156.03       1,174.67       1,193.32      13,201.09
Level 3 AL Standard Gold                             418.02         425.76         433.50         438.66                446.40                454.14         459.30         467.04         474.78         479.95         487.69         495.43         5,480.67
Level 4 AL Standard Platinum                         127.97         130.34         132.71         134.29                136.66                139.03         140.61         142.97         145.34         146.92         149.29         151.66         1,677.79
Superior ALF Levels of Care Revenue                  588.06         598.96         609.85         617.11                628.00                638.89         646.15         657.04         667.93         675.19         686.08         696.97         7,710.23
AL Legacy Forever Care Revenue                      7,508.23       7,647.28       7,786.32       7,879.01             8,018.05              8,157.09        8,249.79       8,388.83       8,527.87       8,620.57       8,759.61       8,898.65      98,441.30
Level 1 AL Forever Bronze                            702.54         715.55         728.56         737.24                750.25                763.26         771.93         784.94         797.95         806.62          819.63         832.64        9,211.11
Level 2 AL Forever Silver                           1,141.41       1,162.55       1,183.68       1,197.78             1,218.91              1,240.05        1,254.14       1,275.28       1,296.42       1,310.51       1,331.65       1,352.78      14,965.16
                                                                                                                                                                                                                                                                      Filed 01/11/22




Level 3 AL Forever Gold                              418.83         426.59         434.34         439.51                447.27                455.03         460.20         467.95         475.71         480.88         488.64         496.39         5,491.34
Level 4 AL Forever Platinum                          135.29         137.80         140.30         141.97                144.48                146.98         148.65         151.16         153.67         155.34         157.84         160.35         1,773.83
ASSISTED LIVING -CARE REVENUE                     12,500.03      12,731.52      12,963.00      13,117.34           13,348.80             13,580.29        13,734.61      13,966.08      14,197.57      14,351.90      14,583.37      14,814.86     163,889.37


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Second Occupant Revenue                             7,200.00       7,200.00       7,200.00       7,200.00             7,200.00              7,200.00        7,200.00       7,200.00       7,200.00       7,200.00       7,200.00       7,200.00      86,400.00
RESPITE 8 SECOND OCCUPANT REVENUE                  7,200.00       7,200.00       7,200.00       7,200.00             7,200.00              7,200.00        7,200.00       7,200.00       7,200.00       7,200.00       7,200.00       7,200.00      86,400.00
                                                                                                                                                                                                                                                                      Page 6 of 15




  COM M UN I TY FEES
Community Fee Revenue                              18,000.00      18,000.00      18,000.00      18,000.00            18,000.00             18,000.00       18,000.00      18,000.00      18,000.00      18,000.00      18,000.00      18,000.00     216,000.00
Community fee discount                             -1,800.00      -1,800.00      -1,800.00      -1,800.00            -1,800.00             -1,800.00       -1,800.00      -1,800.00      -1,800.00      -1,800.00      -1,800.00      -1,800.00      -21,600.00

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                                                                                                          Inspired Living at Lewisville (ill)

                                                                                                                    Budget
                                                                                                           Period = Jan 2022-Dec 2022
                                                                                                     Book = Accrual ; Tree = 2022_is_detailed
                                         Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022         Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total
COMMUNITY FEES                             16,200.00      16,200.00      16,200.00      16,200.00           16,200.00             16,200.00       16,200.00      16,200.00      16,200.00      16,200.00      16,200.00      16,200.00     194,400.00


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Barber & Beauty Administrative Revenue        182.36         166.65         186.64         182.00                190.20                186.13        193.76         195.90         191.65         199.46         195.10         203.74        2,273.59
Medical Supplies Revenue                      777.15         710.17         795.36         775.58                810.54                793.21        825.72         834.83         816.71         850.01         831.40         868.22        9,688.90
Incontinence Supplies Revenue                 555.92         508.01         568.95         554.80                579.81                567.41        590.67         597.18         584.23         608.04         594.73         621.07        6,930.82
Physical Therapy Revenue                      419.26         383.13         429.09         418.42                437.28                427.93        445.47         450.38         440.61         458.57         448.53         468.40        5,227.07
Late Charges                                 1,196.41       1,093.29       1,224.45       1,194.00             1,247.82              1,221.14       1,271.19       1,285.21       1,257.32       1,308.58       1,279.93       1,336.62      14,915.96
Tray Service Revenue                          152.93         139.75         156.52         152.62                159.50                156.09        162.49         164.28         160.72         167.27         163.61         170.85        1,906.63
Contract Processing Fee                       243.44         222.46         249.15         242.95                253.90                248.47        258.66         261.51         255.84         266.27         260.44         271.97        3,035.06
Pet Service/Fee Revenue                       395.46         361.37         404.72         394.66                412.45                403.63        420.17         424.81         415.59         432.53         423.06         441.80        4,930.25
Barber & Beauty Revenue                      1,989.37       1,817.91       2,036.00       1,985.36             2,074.85              2,030.48       2,113.71       2,137.02       2,090.65       2,175.88       2,128.25       2,222.50      24,801.98
                                                                                                                                                                                                                                                              Case 8:22-bk-00103-CED




ANCILLARY REVENUE                           5,912.30       5,402.74       6,050.88       5,900.39             6,166.35              6,034.49       6,281.84       6,351.12       6,213.32       6,466.61       6,325.05       6,605.17      73,710.26


  TOTAL REVENUE                           660,459.73     667,432.06     675,562.08     680,399.53          688,147.35            695,497.38     700,732.65      708,283.80     715,627.89     720,869.11     728,209.42     735,971.43    8,377,192.43


  CON TR OLLAB LE COSTS
                                                                                                                                                                                                                                                              Doc 6




  HEALTHCAR E M C W AGES
Director Wages                               6,057.69       5,769.23       6,634.62       6,057.69             6,346.15              6,523.84       6,227.31       6,820.39       6,523.84       6,227.31       6,523.84       6,523.84      76,235.75
LPN Wages                                   12,524.00      11,312.00      12,524.00      12,120.00            12,524.00             12,459.36      12,874.67      12,874.67      12,459.36      12,874.67      12,459.36      12,874.67     149,880.76
Care Associates MC                          36,556.75      33,019.00      36,556.75      35,377.50            36,556.75             36,368.07      37,580.34      37,580.34      36,368.07      37,580.34      36,368.07      37,580.34     437,492.32
HEALTHCARE MC LABOR                        55,138.44      50,100.23      55,715.37      53,555.19           55,426.90             55,351.27       56,682.32      57,275.40      55,351.27      56,682.32      55,351.27      56,978.85     663,608.83


  HEALTHCAR E AL W AGES
Director Wages                               5,250.00       5,000.00       5,750.00       5,250.00             5,500.00              5,654.00       5,397.00       5,911.00       5,654.00       5,397.00       5,654.00       5,654.00      66,071.00
LPN Wages                                   12,524.00      11,312.00      12,524.00      12,120.00            12,524.00             12,459.36      12,874.67      12,874.67      12,459.36      12,874.67      12,459.36      12,874.67     149,880.76
                                                                                                                                                                                                                                                              Filed 01/11/22




Care Associates AL                          57,012.10      52,496.50      59,230.15      58,035.00            61,078.53             61,866.58      64,688.85      65,828.94      64,808.72      67,729.06      66,647.55      70,009.22     749,431.20
HEALTHCARE AL LABOR                        74,786.10      68,808.50      77,504.15      75,405.00           79,102.53             79,979.94       82,960.52      84,614.61      82,922.08      86,000.73      84,760.91      88,537.89     965,382.96


  P R OGR AM M I N G M C W AGES
Program Director Wages                       3,696.00       3,520.00       4,048.00       3,696.00             3,872.00              3,980.42       3,799.49       4,161.34       3,980.42       3,799.49       3,980.42       3,980.42      46,514.00
Program Coordinator Wages                    6,982.75       6,307.00       6,982.75       6,757.50             6,982.75              6,946.71       7,178.27       7,178.27       6,946.71       7,178.27       6,946.71       7,178.27      83,565.96
PROGRAMMING MC LABOR                       10,678.75       9,827.00      11,030.75      10,453.50           10,854.75             10,927.13       10,977.76      11,339.61      10,927.13      10,977.76      10,927.13      11,158.69     130,079.96
                                                                                                                                                                                                                                                              Page 7 of 15




  HOUSEK EEP I N G W AGES
Housekeeper Wages                           16,963.20      15,501.15      17,360.78      16,929.00            17,692.09             17,798.54      18,528.06      18,732.41      18,325.90      19,073.00      18,655.50      19,481.71     215,041.34
HOUSEKEEPING LABOR                         16,963.20      15,501.15      17,360.78      16,929.00           17,692.09             17,798.54       18,528.06      18,732.41      18,325.90      19,073.00      18,655.50      19,481.71     215,041.34

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                                                                                                                                                                                                                                           1/11/2022 1:13 PM
                                                                                                           Inspired Living at Lewisville (ill)

                                                                                                                     Budget
                                                                                                            Period = Jan 2022-Dec 2022
                                                                                                      Book = Accrual ; Tree = 2022_is_detailed
                                          Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022         Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total


  P LAN T OP ER ATI ON S W AGES
Director Wages                                5,451.92       5,192.30       5,971.15       5,451.92             5,711.53              5,871.45       5,604.57       6,138.34       5,871.45       5,604.57       5,871.45       5,871.45      68,612.10
Plant Ops Staff Wages                         3,596.00       3,248.00       3,596.00       3,480.00             3,596.00              3,577.44       3,696.69       3,696.69       3,577.44       3,696.69       3,577.44       3,696.69      43,035.08
PLANT OPERATIONS LABOR                       9,047.92       8,440.30       9,567.15       8,931.92             9,307.53              9,448.89       9,301.26       9,835.03       9,448.89       9,301.26       9,448.89       9,568.14     111,647.18


  SALES W AGES
Director Wages                                8,222.95       7,831.38       9,006.09       8,222.95             8,614.52              8,855.73       8,453.20       9,258.26       8,855.73       8,453.20       8,855.73       8,855.73     103,485.47
SALES LABOR                                  8,222.95       7,831.38       9,006.09       8,222.95             8,614.52              8,855.73       8,453.20       9,258.26       8,855.73       8,453.20       8,855.73       8,855.73     103,485.47


  ADM I N I STR ATI ON W AGES
Executive Director Wages                     10,500.00      10,000.00      11,500.00      10,500.00            11,000.00             11,308.00      10,794.00      11,822.00      11,308.00      10,794.00      11,308.00      11,308.00     132,142.00
                                                                                                                                                                                                                                                               Case 8:22-bk-00103-CED




Director of Associate Development Wages       3,634.62       3,461.54       3,980.77       3,634.62             3,807.69              3,914.31       3,736.39       4,092.23       3,914.31       3,736.39       3,914.31       3,914.31      45,741.49
Concierge Wages                               8,215.00       7,420.00       8,215.00       7,950.00             8,215.00              8,172.60       8,445.02       8,445.02       8,172.60       8,445.02       8,172.60       8,445.02      98,312.88
Transportation Wages                          1,550.00       1,400.00       1,550.00       1,500.00             1,550.00              1,542.00       1,593.40       1,593.40       1,542.00       1,593.40       1,542.00       1,593.40      18,549.60
ADMINISTRATION LABOR                        23,899.62      22,281.54      25,245.77      23,584.62           24,572.69             24,936.91       24,568.81      25,952.65      24,936.91      24,568.81      24,936.91      25,260.73     294,745.97
                                                                                                                                                                                                                                                               Doc 6




  OVER TI M E W AGES
Healthcare AL OT                              1,390.72       1,276.17       1,435.08       1,403.10             1,472.05              1,486.52       1,551.27       1,574.07       1,545.36       1,612.07       1,582.14       1,657.68      17,986.23
Healthcare MC OT                               981.62         886.62         981.62         949.95                981.62                976.55       1,009.10       1,009.10        976.55        1,009.10        976.55        1,009.10      11,747.48
TOTAL OVERTIME LABOR                         2,372.34       2,162.79       2,416.70       2,353.05             2,453.67              2,463.07       2,560.37       2,583.17       2,521.91       2,621.17       2,558.69       2,666.78      29,733.71


  TR AI N I N G W AGES
Training                                       480.00         480.00         480.00         480.00                480.00                480.00        480.00         480.00         480.00         480.00         480.00         480.00        5,760.00
Training                                       480.00         480.00         480.00         480.00                480.00                480.00        480.00         480.00         480.00         480.00         480.00         480.00        5,760.00
Training                                       960.00         960.00         960.00         960.00                960.00                960.00        960.00         960.00         960.00         960.00         960.00         960.00       11,520.00
TRAINING WAGES                               1,920.00       1,920.00       1,920.00       1,920.00             1,920.00              1,920.00       1,920.00       1,920.00       1,920.00       1,920.00       1,920.00       1,920.00      23,040.00
                                                                                                                                                                                                                                                               Filed 01/11/22




  COM M I SSI ON S & B ON USES
Commissions Healthcare MC                     1,575.00       1,575.00       1,575.00       1,575.00             1,575.00              1,575.00       1,575.00       1,575.00       1,575.00       1,575.00       1,575.00       1,575.00      18,900.00
Commissions Sales                             4,500.00       4,500.00       4,500.00       4,500.00             4,500.00              4,500.00       4,500.00       4,500.00       4,500.00       4,500.00       4,500.00       4,500.00      54,000.00
Commissions Administration                     900.00         900.00         900.00         900.00                900.00                900.00        900.00         900.00         900.00         900.00         900.00         900.00       10,800.00
Bonus Healthcare MC                            460.42         460.42         460.42         460.42                460.42                460.42        460.42         460.42         460.42         460.42         460.42         460.42        5,525.04
Bonus Actvities MC                             162.07         162.07         162.07         162.07                162.07                162.07        162.07         162.07         162.07         162.07         162.07         162.07        1,944.84
Bonus Maintenance                              239.06         239.06         239.06         239.06                239.06                239.06        239.06         239.06         239.06         239.06         239.06         239.06        2,868.72
                                                                                                                                                                                                                                                               Page 8 of 15




Bonus Administration                          1,540.63       1,540.63       1,540.63       1,540.63             1,540.63              1,540.63       1,540.63       1,540.63       1,540.63       1,540.63       1,540.63       1,540.63      18,487.56
COMMISSIONS & BONUSES                        9,377.18       9,377.18       9,377.18       9,377.18             9,377.18              9,377.18       9,377.18       9,377.18       9,377.18       9,377.18       9,377.18       9,377.18     112,526.16



                                                                                                                         Page 3 of 8
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                                                                                                        Inspired Living at Lewisville (ill)

                                                                                                                  Budget
                                                                                                         Period = Jan 2022-Dec 2022
                                                                                                   Book = Accrual ; Tree = 2022_is_detailed
                                       Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022          Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total
  P AYR OLL TAXES
FICA Tax                                  16,102.22      14,866.25      16,617.63      15,974.15            16,631.24             16,764.11       17,090.82      17,516.08      17,034.02      17,369.74      17,202.72      17,739.25     200,908.23
FUTA Tax                                   1,052.43        971.65        1,086.12       1,044.06             1,087.01              1,095.69        1,117.05       1,144.84       1,113.33       1,135.28       1,124.36       1,159.43      13,131.25
SUI TAX                                     473.59         437.24         488.75         469.83                489.15                493.06         502.67         515.18         501.00         510.87         505.96         521.74        5,909.04
PAYROLL TAXES                            17,628.24      16,275.14      18,192.50      17,488.04           18,207.40             18,352.86        18,710.54      19,176.10      18,648.35      19,015.89      18,833.04      19,420.42     219,948.52


  EM P LOYEE B EN EFI TS
Employee Insurance                         6,195.00       6,195.00       6,195.00       6,195.00             6,195.00              6,195.00        6,195.00       6,195.00       6,195.00       6,195.00       6,195.00       6,195.00      74,340.00
Employee Hiring & Moving                   1,154.81       1,154.81       1,154.81       1,154.81             1,154.81              1,154.81        1,154.81       1,154.81       1,154.81       1,154.81       1,154.81       1,154.81      13,857.72
Uniform Expense                             913.24         913.24         913.24         913.24                913.24                913.24         913.24         913.24         913.24         913.24         913.24         913.24       10,958.88
EMPLOYEE BENEFITS                         8,263.05       8,263.05       8,263.05       8,263.05             8,263.05              8,263.05        8,263.05       8,263.05       8,263.05       8,263.05       8,263.05       8,263.05      99,156.60
                                                                                                                                                                                                                                                             Case 8:22-bk-00103-CED




  W OR K ER 'S COM P EN SATI ON
Worker's Compensation                      8,440.36       8,440.36       8,440.36       8,440.36             8,440.36              8,440.36        8,440.36       8,440.36       8,440.36       8,440.36       8,440.36       8,440.36     101,284.32
WORKER'S COMPENSATION                     8,440.36       8,440.36       8,440.36       8,440.36             8,440.36              8,440.36        8,440.36       8,440.36       8,440.36       8,440.36       8,440.36       8,440.36     101,284.32


  TOTAL LABOR COST                      246,738.15     229,228.62     254,039.85     244,923.86          254,232.67            256,114.93      260,743.43      266,767.83     259,938.76     264,694.73     262,328.66     269,929.53    3,069,681.02
                                                                                                                                                                                                                                                             Doc 6




  N ON LAB OR EXP EN SES


  HEALTHCAR E M C N ON LAB OR
Allocation of Dining Expense                   3.61           3.30           3.70           3.60                  3.77                  3.69           3.84           3.88           3.79           3.95           3.86           4.03             45.02
Medical Supplies                           1,733.45       1,584.05       1,774.08       1,729.96             1,807.94              1,769.28        1,841.80       1,862.11       1,821.70       1,895.97       1,854.46       1,936.59      21,611.39
Incontinency Supplies                       351.37         321.09         359.61         350.66                366.47                358.63         373.33         377.45         369.26         384.31         375.90         392.55        4,380.63
Infectious Waste Disposal                   186.71         170.62         191.09         186.34                194.74                190.57         198.38         200.57         196.22         204.22         199.75         208.60        2,327.81
Training & Education                         95.33          87.11          97.56          95.14                  99.43                 97.30        101.29         102.41         100.18         104.27         101.99         106.50        1,188.51
HEALTHCARE MC NON LABOR                   2,370.47       2,166.17       2,426.04       2,365.70             2,472.35              2,419.47        2,518.64       2,546.42       2,491.15       2,592.72       2,535.96       2,648.27       29,553.36
                                                                                                                                                                                                                                                             Filed 01/11/22




  P R OGR AM M I N G M C N ON LAB OR
Contract Services                           525.00            0.00           0.00           0.00                  0.00                  0.00           0.00           0.00           0.00           0.00           0.00           0.00         525.00
Entertainers                                600.00         600.00         600.00         600.00                600.00                600.00         600.00         600.00         600.00         600.00         600.00         600.00        7,200.00
Resident Gifts                              120.00         120.00         120.00         120.00                120.00                120.00         120.00         120.00         120.00         120.00         120.00         120.00        1,440.00
Resident Activities                        1,250.00       1,250.00       1,250.00       1,250.00             1,250.00              1,250.00        1,250.00       1,250.00       1,250.00       1,250.00       1,250.00       1,250.00      15,000.00
PROGRAMMING MC NON LABOR                  2,495.00       1,970.00       1,970.00       1,970.00             1,970.00              1,970.00        1,970.00       1,970.00       1,970.00       1,970.00       1,970.00       1,970.00      24,165.00
                                                                                                                                                                                                                                                             Page 9 of 15




  HOUSEK EEP I N G N ON LAB OR
Housekeeping Supplies                      2,014.20       1,840.60       2,061.41       2,010.14             2,100.75              2,055.83        2,140.09       2,163.69       2,116.74       2,203.03       2,154.81       2,250.24      25,111.53
Equipment Rental/Purchases                  111.06         101.49         113.66         110.83                115.83                113.35         118.00         119.30         116.71         121.47         118.81         124.07        1,384.58

                                                                                                                      Page 4 of 8
                                                                                                                                                                                                                                         1/11/2022 1:13 PM
                                                                                                        Inspired Living at Lewisville (ill)

                                                                                                                  Budget
                                                                                                         Period = Jan 2022-Dec 2022
                                                                                                   Book = Accrual ; Tree = 2022_is_detailed
                                       Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022          Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total
HOUSEKEEPING NON LABOR                    2,125.26       1,942.09       2,175.07       2,120.97             2,216.58              2,169.18        2,258.09       2,282.99       2,233.45       2,324.50       2,273.62       2,374.31      26,496.11


  P LAN T OP ER ATI ON S N ON LAB OR
Fire Inspection & Training                 1,194.58       1,194.58       1,194.58       1,194.58             1,194.58              1,194.58        1,194.58       1,194.58       1,194.58       1,194.58       1,194.58       1,194.58      14,334.96
Repairs & Maintenance                      3,013.42       2,753.69       3,084.04       3,007.34             3,142.90              3,075.69        3,201.75       3,237.07       3,166.82       3,295.92       3,223.78       3,366.55      37,568.97
Between Tenant Renovations                 1,765.54       1,613.37       1,806.92       1,761.98             1,841.41              1,802.03        1,875.89       1,896.58       1,855.42       1,931.06       1,888.79       1,972.44      22,011.43
Pest Control                                446.00         446.00         446.00         446.00                446.00                446.00         446.00         446.00         446.00         446.00         446.00         446.00        5,352.00
Contract Services                          1,510.12       1,379.97       1,545.52       1,507.08             1,575.01              1,541.33        1,604.51       1,622.20       1,587.00       1,651.70       1,615.54       1,687.09      18,827.07
Supplies Maintenance                       2,877.34       2,629.34       2,944.77       2,871.54             3,000.97              2,936.80        3,057.17       3,090.89       3,023.81       3,147.09       3,078.20       3,214.52      35,872.44
Property landscaping                       2,665.25       2,665.25       2,665.25       2,665.25             2,665.25              2,665.25        2,665.25       2,665.25       2,665.25       2,665.25       2,665.25       2,665.25      31,983.00
Equipment Rental/Purchases                   52.56          48.03          53.80          52.46                  54.82                 53.65         55.85          56.47          55.24          57.49          56.23          58.72          655.32
Maintenance Start Up Supplies                17.73          16.20          18.14          17.69                  18.49                 18.09         18.83          19.04          18.63          19.39          18.96          19.80          220.99
                                                                                                                                                                                                                                                             Case 8:22-bk-00103-CED




HVAC Contract                               177.60         177.60         177.60         177.60                177.60                177.60         177.60         177.60         177.60         177.60         177.60         177.60        2,131.20
Generator Contract                          364.26         364.26         364.26         364.26                364.26                364.26         364.26         364.26         364.26         364.26         364.26         364.26        4,371.12
Grease Trap Contract                        120.84         120.84         120.84         120.84                120.84                120.84         120.84         120.84         120.84         120.84         120.84         120.84        1,450.08
Pool Service                                461.35         461.35         461.35         461.35                461.35                461.35         461.35         461.35         461.35         461.35         461.35         461.35        5,536.20
FishTank                                    339.61         339.61         339.61         339.61                339.61                339.61         339.61         339.61         339.61         339.61         339.61         339.61        4,075.32
                                                                                                                                                                                                                                                             Doc 6




Elevator Service Contract                   960.24         960.24         960.24         960.24                960.24                960.24         960.24         960.24         960.24         960.24         960.24         960.24       11,522.88
PLANT OPERATIONS NON LABOR               15,966.44      15,170.33      16,182.92      15,947.82           16,363.33             16,157.32        16,543.73      16,651.98      16,436.65      16,832.38      16,611.23      17,048.85     195,912.98


  TR AN SP OR TATI ON N ON LAB OR
Auto Exp - Gas                               34.28          31.33          35.09          34.21                  35.76                 34.99         36.43          36.83          36.03          37.50          36.68          38.30          427.43
Automobile Expense (Other)                   20.13          18.40          20.60          20.09                  21.00                 20.55         21.39          21.63          21.16          22.02          21.54          22.49          251.00
Equipment Rental/Purchases                   27.32          24.97          27.96          27.27                  28.50                 27.89         29.03          29.35          28.72          29.89          29.23          30.53          340.66
TRANSPORTATION NON LABOR                     81.73          74.70          83.65          81.57                 85.26                 83.43          86.85          87.81          85.91          89.41          87.45          91.32        1,019.09
                                                                                                                                                                                                                                                             Filed 01/11/22




  SALES N ON LAB OR
Creative Follow-up                          400.00         400.00         400.00         400.00                400.00                400.00         400.00         400.00         400.00         400.00         400.00         400.00        4,800.00
Outreach/Community Relations               1,000.00       1,000.00       1,000.00       1,000.00             1,000.00              1,000.00        1,000.00       1,000.00       1,000.00       1,000.00       1,000.00       1,000.00      12,000.00
Special Events                              600.00         600.00         600.00         600.00                600.00                600.00         600.00         600.00         600.00         600.00         600.00         600.00        7,200.00
SALES NON LABOR                           2,000.00       2,000.00       2,000.00       2,000.00             2,000.00              2,000.00        2,000.00       2,000.00       2,000.00       2,000.00       2,000.00       2,000.00      24,000.00


  ADM I N I STR ATI ON N ON LAB OR
Allocation of Dining Expense                152.08         138.97         155.64         151.77                158.61                155.22         161.58         163.36         159.82         166.33         162.69         169.90        1,895.97
Payroll Processing Fees                    4,270.88       3,902.77       4,370.98       4,262.27             4,454.39              4,359.14        4,537.81       4,587.86       4,488.30       4,671.27       4,569.02       4,771.37      53,246.06
Barber & Beauty Expense                    2,058.90       1,881.44       2,107.15       2,054.75             2,147.37              2,101.45        2,187.58       2,211.71       2,163.71       2,251.92       2,202.63       2,300.18      25,668.79
                                                                                                                                                                                                                                                             Page 10 of 15




Contract Services                           806.48         736.97         825.38         804.85                841.13                823.15         856.88         866.34         847.53         882.09         862.78         900.99       10,054.57
Supplies                                   1,303.64       1,191.28       1,334.20       1,301.01             1,359.66              1,330.58        1,385.12       1,400.40       1,370.01       1,425.86       1,394.65       1,456.41      16,252.82

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                                                                                                                                                                                                                                        1/11/2022 1:13 PM
                                                                                                       Inspired Living at Lewisville (ill)

                                                                                                                 Budget
                                                                                                        Period = Jan 2022-Dec 2022
                                                                                                  Book = Accrual ; Tree = 2022_is_detailed
                                      Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022          Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total
BW and Color Copies Administration        1,036.89        947.52        1,061.19       1,034.80             1,081.44              1,058.32        1,101.70       1,113.85       1,089.68       1,134.10       1,109.27       1,158.40      12,927.16
Special Events                              74.00          67.63          75.74          73.85                  77.18                 75.53          78.63         79.50          77.77          80.94          79.17           82.68         922.62
Memberships/Subscriptions/Dues             444.90         406.55         455.33         444.00                464.02                454.09         472.70         477.92         467.55         486.61         475.96         497.04         5,546.67
Subscriptions                               92.90          84.89          95.08          92.71                  96.89                 94.82          98.71          99.79          97.63        101.61           99.38        103.79         1,158.20
Software Support Fees                     5,251.21       4,798.61       5,374.28       5,240.62             5,476.84              5,359.72        5,579.41       5,640.94       5,518.53       5,743.51       5,617.78       5,866.58      65,468.03
Bank Fees                                  368.46         336.70         377.10         367.72                384.29                376.08         391.49         395.81         387.22         403.01         394.18         411.64         4,593.70
Licenses/Permits                          1,125.40       1,028.40       1,151.77       1,123.13             1,173.75              1,148.65        1,195.73       1,208.92       1,182.69       1,230.90       1,203.96       1,257.28      14,030.58
Equipment Rental/Purchases                    7.93           7.24           8.11           7.91                  8.27                  8.09           8.42           8.52           8.33           8.67           8.48           8.86             98.83
Employee Recognition / Awards             1,000.00       1,000.00       1,000.00       1,000.00             1,000.00              1,000.00        1,000.00       1,000.00       1,000.00       1,000.00       1,000.00       2,000.00      13,000.00
Travel Costs (non meal costs)              357.27         326.47         365.64         356.55                372.62                364.65         379.60         383.78         375.45         390.76         382.21         399.13         4,454.13
Telephone - Cell                           350.69         320.47         358.91         349.99                365.76                357.94         372.61         376.72         368.55         383.57         375.17         391.79         4,372.17
Cable & Internet                          6,687.50       6,111.11       6,844.24       6,674.02             6,974.85              6,825.70        7,105.47       7,183.84       7,027.94       7,314.45       7,154.34       7,471.19      83,374.65
                                                                                                                                                                                                                                                            Case 8:22-bk-00103-CED




ADMINISTRATION NON LABOR                25,389.13      23,287.02      25,960.74      25,339.95           26,437.07             25,893.13        26,913.44      27,199.26      26,630.71      27,675.60      27,091.67      29,247.23     317,064.95


  DI N I N G EXP EN SE


  DI N I N G N ON LAB OR
                                                                                                                                                                                                                                                            Doc 6




Repairs &amp;amp; Maintenance              173.20         158.27         177.26         172.85                180.64                176.78         184.03         186.06         187.48         195.12         190.85         199.30         2,181.84
Contract Services                          154.44         141.13         158.06         154.13                161.08                157.63         164.09         165.90         167.17         173.99         170.18         177.71         1,945.51
Supplies Dining                               9.96           9.10         10.19            9.94                 10.38                 10.16          10.58          10.69          10.78          11.22          10.97          11.46         125.43
Equipment Rental/Purchases                  12.54          11.46          12.84          12.52                  13.08                 12.80          13.33          13.48          13.58          14.13          13.82          14.44         158.02
Non-Labor Allocation - Sodexo             1,715.78       1,567.90       1,756.00       1,712.32             1,789.51              1,751.24        1,823.02       1,843.12       1,857.22       1,932.94       1,890.62       1,974.36      21,614.03
Guest Meals                                 -15.42         -14.09         -15.78         -15.39                -16.08                -15.74         -16.38         -16.56         -16.69         -17.37         -16.99         -17.74         -194.23
Employee Meals                               -6.99          -6.38          -7.15          -6.97                 -7.29                 -7.13          -7.42          -7.50          -7.56          -7.87          -7.70          -8.04          -88.00
DINING NON LABOR                         2,043.51       1,867.39       2,091.42       2,039.40             2,131.32              2,085.74        2,171.25       2,195.19       2,211.98       2,302.16       2,251.75       2,351.49       25,742.60
                                                                                                                                                                                                                                                            Filed 01/11/22




  DI N I N G - CON TR ACT EXP EN SE
Sodexo Allocation                        94,835.20      86,661.40      97,057.90      94,644.00            98,910.15             96,795.00      100,762.40     101,873.75     102,652.89     106,837.78     104,499.17     109,127.16    1,194,656.80
TOTAL DINING CONTRACT EXPENSE           94,835.20      86,661.40      97,057.90      94,644.00           98,910.15             96,795.00      100,762.40      101,873.75     102,652.89     106,837.78     104,499.17     109,127.16    1,194,656.80


  TOTAL DINING EXPENSE                  96,878.71      88,528.79      99,149.32      96,683.40          101,041.47             98,880.74      102,933.65      104,068.94     104,864.87     109,139.94     106,750.92     111,478.65    1,220,399.40


  R EFER R AL FEES
Referral Fees                             5,000.00       5,000.00       5,000.00       5,000.00             5,000.00              5,000.00        5,000.00       5,000.00       5,000.00       5,000.00       5,000.00       5,000.00      60,000.00
TOTAL Referral Fees                      5,000.00       5,000.00       5,000.00       5,000.00             5,000.00              5,000.00        5,000.00       5,000.00       5,000.00       5,000.00       5,000.00       5,000.00      60,000.00
                                                                                                                                                                                                                                                            Page 11 of 15




  M AR K ETI N G EXP EN SES
Branded Collateral                         256.91         256.91         256.91         256.91                256.91                256.91         256.91         256.91         256.91         256.91         256.91         256.91         3,082.92

                                                                                                                     Page 6 of 8
                                                                                                                                                                                                                                          1/11/2022 1:13 PM
                                                                                                         Inspired Living at Lewisville (ill)

                                                                                                                   Budget
                                                                                                          Period = Jan 2022-Dec 2022
                                                                                                    Book = Accrual ; Tree = 2022_is_detailed
                                        Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022          Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total
Print Media                                 1,732.09       1,732.09       1,732.09       1,732.09             1,732.09              1,732.09        1,732.09       1,732.09       1,732.09       1,732.09       1,732.09       1,732.09      20,785.08
Website                                      466.65         466.65         466.65         466.65                466.65                466.65         466.65         466.65         466.65         466.65         466.65         466.65        5,599.80
Brand Awareness                               80.14          80.14          80.14          80.14                  80.14                 80.14         80.14          80.14          80.14          80.14          80.14          80.14          961.68
Signage                                         5.55           5.55           5.55           5.55                  5.55                  5.55           5.55           5.55           5.55           5.55           5.55           5.55             66.60
Lead Acquisition                             355.31         355.31         355.31         355.31                355.31                355.31         355.31         355.31         355.31         355.31         355.31         355.31        4,263.72
Contract Services                           2,914.48       2,914.48       2,914.48       2,914.48             2,914.48              2,914.48        2,914.48       2,914.48       2,914.48       2,914.48       2,914.48       2,914.48      34,973.76
Subscriptions                                438.89         438.89         438.89         438.89                438.89                438.89         438.89         438.89         438.89         438.89         438.89         438.89        5,266.68
Subscriptions                               2,453.26       2,453.26       2,453.26       2,453.26             2,453.26              2,453.26        2,453.26       2,453.26       2,453.26       2,453.26       2,453.26       2,453.26      29,439.12
TOTAL MARKETING EXPENSE                    8,703.28       8,703.28       8,703.28       8,703.28             8,703.28              8,703.28        8,703.28       8,703.28       8,703.28       8,703.28       8,703.28       8,703.28     104,439.36


   TOTAL NON LABOR COST                  161,010.02     148,842.38     163,651.02     160,212.69          166,289.34            163,276.55       168,927.68     170,510.68     170,416.02     176,327.83     173,024.13     180,561.91    2,003,050.25
                                                                                                                                                                                                                                                              Case 8:22-bk-00103-CED




   TOTAL CONTROLLABLE COST               407,748.17     378,071.00     417,690.87     405,136.55          420,522.01            419,391.48      429,671.11      437,278.51     430,354.78     441,022.56     435,352.79     450,491.44    5,072,731.27


   TOTAL N ON -CON TR OLLAB LE COSTS


   HOM E OFFI CE ALLOCATI ON S
                                                                                                                                                                                                                                                              Doc 6




Corporate Allocation - Administration       7,383.87       7,383.87       7,383.87       7,383.87             7,383.87              7,383.87        7,383.87       7,383.87       7,383.87       7,383.87       7,383.87       7,383.87      88,606.44
VSL Travel Costs                             763.59         763.59         763.59         763.59                763.59                763.59         763.59         763.59         763.59         763.59         763.59         763.59        9,163.08
VSL Meals & Entertainment                    185.87         185.87         185.87         185.87                185.87                185.87         185.87         185.87         185.87         185.87         185.87         185.87        2,230.44
TOTAL HOME OFFICE ALLOCATIONS              8,333.33       8,333.33       8,333.33       8,333.33             8,333.33              8,333.33        8,333.33       8,333.33       8,333.33       8,333.33       8,333.33       8,333.33      99,999.96


   UTI LI TI ES
Water & Sewer                               4,708.99       4,589.88       4,741.38       4,706.21             4,768.37              4,737.55        4,795.37       4,811.56       4,779.34       4,838.55       4,805.47       4,870.94      57,153.61
Trash Removal                               2,280.46       2,222.77       2,296.14       2,279.11             2,309.21              2,294.29        2,322.29       2,330.13       2,314.53       2,343.20       2,327.18       2,358.89      27,678.20
Gas                                          678.15         661.00         682.81         677.75                686.70                682.26         690.59         692.92         688.28         696.81         692.04         701.47        8,230.78
                                                                                                                                                                                                                                                              Filed 01/11/22




Electric                                   11,151.57      10,869.49      11,228.27      11,144.97            11,292.19             11,219.20       11,356.12      11,394.47      11,318.18      11,458.39      11,380.03      11,535.10     135,347.98
TOTAL UTILITIES                           18,819.17      18,343.14      18,948.60      18,808.04           19,056.47             18,933.30        19,164.37      19,229.08      19,100.33      19,336.95      19,204.72      19,466.40     228,410.57


   P R OFESSI ON AL FEES
Legal & Professional Fees                    833.33         833.33         833.33         833.33                833.33                833.33         833.33         833.33         833.33         833.33         833.33         833.33        9,999.96
TOTAL PROFESSIONAL FEES                      833.33         833.33         833.33         833.33               833.33                833.33          833.33         833.33         833.33         833.33         833.33         833.33        9,999.96


   M AN AGEM EN T FEES
Management Fee Expense                     39,627.58      40,045.92      40,533.72      40,823.97            41,288.84             41,729.84       42,043.96      42,497.03      42,937.67      43,252.14      43,692.56      44,158.29     502,631.52
TOTAL MANAGEMENT FEES                     39,627.58      40,045.92      40,533.72      40,823.97           41,288.84             41,729.84        42,043.96      42,497.03      42,937.67      43,252.14      43,692.56      44,158.29     502,631.52
                                                                                                                                                                                                                                                              Page 12 of 15




   P R OP ER TY TAXES

                                                                                                                       Page 7 of 8
                                                                                                                                                                                                                                    1/11/2022 1:13 PM
                                                                                                   Inspired Living at Lewisville (ill)

                                                                                                             Budget
                                                                                                    Period = Jan 2022-Dec 2022
                                                                                              Book = Accrual ; Tree = 2022_is_detailed
                                  Jan 2022       Feb 2022       Mar 2022       Apr 2022           May 2022              Jun 2022          Jul 2022       Aug 2022       Sep 2022       Oct 2022       Nov 2022       Dec 2022         Total
Taxes - Real Estate                  41,102.49      41,102.49      41,102.49      41,102.49            41,102.49             41,102.49       41,102.49      41,102.49      41,102.49      41,102.49      41,102.49      41,102.49     493,229.88
Taxes - Personal Property                 4.55           4.55           4.55           4.55                  4.55                  4.55           4.55           4.55           4.55           4.55           4.55           4.55             54.60
TOTAL PROPERTY TAXES                41,107.04      41,107.04      41,107.04      41,107.04           41,107.04             41,107.04        41,107.04      41,107.04      41,107.04      41,107.04      41,107.04      41,107.04     493,284.48


  I N SUR AN CE
Insurance - Property                  3,323.25       3,323.25       3,323.25       3,323.25             3,323.25              3,323.25        3,323.25       3,323.25       3,323.25       3,323.25       3,323.25       3,323.25      39,879.00
Insurance - Liability                22,848.16      22,848.16      22,848.16      22,848.16            22,848.16             22,848.16       22,848.16      22,848.16      22,848.16      22,848.16      22,848.16      22,848.16     274,177.92
Insurance - Automobile                1,654.87       1,654.87       1,654.87       1,654.87             1,654.87              1,654.87        1,654.87       1,654.87       1,654.87       1,654.87       1,654.87       1,654.87      19,858.44
Insurance - Cyber                      105.24         105.24         105.24         105.24                105.24                105.24         105.24         105.24         105.24         105.24         105.24         105.24        1,262.88
Insurance - EPLI                       400.97         400.97         400.97         400.97                400.97                400.97         400.97         400.97         400.97         400.97         400.97         400.97        4,811.64
Insurance - Flood                     1,769.07       1,769.07       1,769.07       1,769.07             1,769.07              1,769.07        1,769.07       1,769.07       1,769.07       1,769.07       1,769.07       1,769.07      21,228.84
TOTAL INSURANCE                     30,101.56      30,101.56      30,101.56      30,101.56           30,101.56             30,101.56        30,101.56      30,101.56      30,101.56      30,101.56      30,101.56      30,101.56     361,218.72
                                                                                                                                                                                                                                                        Case 8:22-bk-00103-CED




   TOTAL NON-CONTROLLABLE COSTS    138,822.01     138,764.32     139,857.58     140,007.27          140,720.57            141,038.40      141,583.59      142,101.37     142,413.26     142,964.35     143,272.54     143,999.95    1,695,545.21


   TOTAL EXPENSES                  546,570.18     516,835.32     557,548.45     545,143.82          561,242.58            560,429.88       571,254.70     579,379.88     572,768.04     583,986.91     578,625.33     594,491.39    6,768,276.48
                                                                                                                                                                                                                                                        Doc 6




   NET OPERATING INCOME (LOSS)     113,889.55     150,596.74     118,013.63     135,255.71          126,904.77            135,067.50       129,477.95     128,903.92     142,859.85     136,882.20     149,584.09     141,480.04    1,608,915.95


  N ON OP ER ATI N G EXP EN SES
Non Operating Expenses                 833.33         833.33         833.33         833.33                833.33                833.33         833.33         833.33         833.33         833.33         833.33         833.33        9,999.96
NON OPERATING EXPENSES                 833.33         833.33         833.33         833.33               833.33                833.33          833.33         833.33         833.33         833.33         833.33         833.33        9,999.96


   NET INCOME (LOSS)               113,056.22     149,763.41     117,180.30     134,422.38          126,071.44            134,234.17      128,644.62      128,070.59     142,026.52     136,048.87     148,750.76     140,646.71    1,598,915.99


     STATISTICS
                                                                                                                                                                                                                                                        Filed 01/11/22
                                                                                                                                                                                                                                                        Page 13 of 15




                                                                                                                 Page 8 of 8
                               Case 8:22-bk-00103-CED      Doc 6          Filed 01/11/22   Page 14 of 15
Label Matrix for local noticing              Senior Care Living VII, LLC                      A Place for Mom, Inc.
113A-8                                       3665 East Bay Drive, Ste. 204-429                PO Box 913241
Case 8:22-bk-00103-CED                       Largo, FL 33771-1990                             Denver, CO 80291-3155
Middle District of Florida
Tampa
Tue Jan 11 13:56:57 EST 2022
Accushield, LLC                              Airgas USA, LLC                                  Allegra
Suite 360                                    PO Box 734672                                    107 N Jefferson St
2030 Powers Ferry Rd SE                      Dallas, TX 75373-4672                            Tampa, FL 33602-5001
Atlanta, GA 30339-5016


Aquarium Environments, Inc.                  Aquarius Water Refining                          Arrow Exterminators, Inc.
d/b/a Fish Gallery                           PO Box 337                                       5750 Rufe Snow Drive
2909 Fountainview Drive                      Wimauma, FL 33598-0337                           North Richland Hills, TX 76180-6163
Houston, TX 77057-6105


Bluestone Pools, LLC                         Cawley Company                                   Commercial Safety Systems
PO Box 92923                                 PO Box 2110                                      PO Box 8499
Southlake, TX 76092-0923                     Manitowoc, WI 54221-2110                         Seminole, FL 33775-8499



Community Payroll                            Department of Revenue                            Direct Supply
Suite 400                                    PO Box 6668                                      PO Box 88201
301 Anchor Plaza Parkway                     Tallahassee FL 32314-6668                        Milwaukee, WI 53288-8201
Tampa, FL 33634


Echo Lab                                     Eldermark Software                               FL Dep of Revenue
PO Box 70343                                 PO Box 844707                                    Collection Agency Section
Chicago, IL 60673-0343                       Boston, MA 02284-4707                            5050 W Tennessee St.
                                                                                              Tallahassee, FL 32399-6586


G5 Search Marketing, Inc.                    HD Supply Facilities Mtnce                       HM LIfe Insurance Company
Dept LA 23988                                PO Box 509058                                    PO Box 382038
Pasadena, CA 91185-0001                      San Diego, CA 92150-9058                         Pittsburgh, PA 15251-8038



Internal Revenue Service                     Magnolia Fisheries                               McKesson Medical-Surgical
P.O. Box 7346                                PO Box 3087                                      PO Box 204786
Philadelphia, PA 19101-7346                  Coppell, TX 75019-7001                           Dallas, TX 75320-4786



Our Place Tuxedos & Uniforms                 Senior Care Living VI, LLC                       Senior Living Specialists
2044 Smith Street                            6400 Oilfield Rd                                 14580 Berklee Drive
North Providence, RI 02911-1785              Sugar Land, TX 77479-9622                        Addison, TX 75001-3532



Silversphere, LLC                            Sodexo, Inc & Affiliates                         Songs & Smiles
Suite 200                                    PO Box 360170                                    Suite 260
2570 W Int’l Speedway Blvd                   Pittsburgh, PA 15251-6170                        129 S Main Street
Daytona Beach, FL 32114-8145                                                                  Grapevine, TX 76051-5488
                                Case 8:22-bk-00103-CED             Doc 6          Filed 01/11/22     Page 15 of 15
Thyssenkrupp Elevator Corp                           UMB Bank, NA Master Trustee                          US Foods, Inc.
PO Box 3796                                          120 S. Street #1400                                  PO Box 843202
Carol Stream, IL 60132-3796                          Minneapolis, MN 55402                                Dallas, TX 75284-3202



VSL HOldings, LLC                                    Validus Senior Living REIT                           Michael C Markham +
Suite 400                                            Suite 400                                            Johnson Pope Bokor Ruppel & Burns LLP
4301 Anchor Plaza Parkway                            4301 Anchor Plaza Parkwy                             401 East Jackson Street, Suite 3100
Tampa, FL 33634-7529                                 Tampa, FL 33634-7529                                 Tampa, FL 33602-5228


United States Trustee - TPA +                        J Steven Wilkes +                                    Note: Entries with a ’+’ at the end of the
Timberlake Annex, Suite 1200                         Office of United States Trustee                      name have an email address on file in CMECF
501 E Polk Street                                    501 East Polk Street
Tampa, FL 33602-3949                                 Tampa, FL 33602-3949




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Caryl E. Delano                                   End of Label Matrix
Tampa                                                Mailable recipients    38
                                                     Bypassed recipients     1
                                                     Total                  39
